
In re Jones, John H.; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of W. Baton Rouge, 18th Judicial District Court Div. B, Nos. 052166, 062586; to the Court of Appeal, First Circuit, Nos. 2014 KW 0814, 2014 KW 0601.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
